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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                 CASE NUMBER: 0:20-cv-60678

     MELISSA LOPEZ,

                  Plaintiff,

     v.

     THE CITY OF MIAMI, a municipality, and
     JAVIER ORTIZ, in his individual capacity,

                 Defendants.
     ___________________________________________ /


                                COMPLAINT FOR DAMAGES
                                 (JURY TRIAL DEMANDED)




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            COMES NOW the Plaintiff, MELISSA LOPEZ, and sues Defendants, CITY OF

     MIAMI, and JAVIER ORTIZ, demands trial by jury, and alleges:


                                    NATURE OF THE ACTION

            1.      This is an action for damages arising from an unlawful use of force by City

     of Miami Police Officer JAVIER ORTIZ, intended to cause serious bodily injury and

     emotional distress, that occurred on or about December 9, 2017 after the Plaintiff,

     MELISSA LOPEZ, was assaulted and battered by JAVIER ORTIZ. The action claims that

     ORTIZ’S malfeasance was the direct result of an adopted policy, practice, or custom of the

     CITY OF MIAMI intended to tolerate all manner, and any type of, written departmental

     policy or civil rights or law violations by ORTIZ. This action alleges violations of federal

     civil rights laws, 42 U.S.C. §1983, and the laws of the State of Florida. The Plaintiff seeks

     in excess of SEVENTY-FIVE THOUSAND ($75,000.00) DOLLARS in damages,

     exclusive of interest and costs.


                                  JURISDICTION AND VENUE

            2.      This action is brought pursuant to 42 U.S.C. §§1983 and 1988, the First,

     Fourth, and Fourteenth Amendments to the United States Constitution, and the tort laws of

     Florida. Jurisdiction is founded on 28 U.S.C. §§1331, 1343, 42 U.S.C. §1988, and under

     the tort law of Florida. Supplemental jurisdiction, and joinder of parties for additional state

     law claims, is proper pursuant to 28 U.S.C. §1367(a), because they form part of the same

     case or controversy. The Plaintiff asserts multiple state tort law claims.

            3.      Under 28 U.S.C. §1391(b)(2), venue lies in the United States District Court

     for the Southern District of Florida, Miami Division, because it is the judicial district and


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     division in which a substantial part of the events or omissions giving rise to the claims

     occurred.

                                               PARTIES

            4.         The Plaintiff, MELISSA LOPEZ (hereinafter “LOPEZ”), at all times

     material hereto, has been a resident of Palm Beach County, Florida, over the age of 18

     years, and otherwise able to sue in her own capacity.

            5.         The Defendant, CITY OF MIAMI (hereinafter “CITY”) is a political

     subdivision of the State of Florida, a Florida municipal corporation. Defendant City was

     responsible for the hiring, retention, training, supervision, discipline, and conduct of the

     Defendant, Javier Ortiz, as he was employed by the CITY’s Police Department at all

     relevant times.

            6.         The Defendant, JAVIER ORTIZ (hereinafter “ORTIZ”), Badge #5418, is a

     duly appointed law enforcement officer of the City of Miami Police Department, at all

     times material hereto acting under color of law, to wit: under the color of statutes,

     ordinances, regulations, policies, practices, customs and usages of the City of Miami Police

     Department, and/or the State of Florida. Defendant ORTIZ is being sued in his individual

     capacity.


                                     GENERAL ALLEGATIONS

            7.         Once again, to satisfy his own violent impulses, ORTIZ has attacked a

     citizen causing serious bodily injury, and then made an arrest to cover it up.

            8.         This time it was a 29-year-old female, a pharmacist, attending the Art Basal

     Festival with her boyfriend.




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               9.      As he has in at least four dozen other incidents, ORTIZ relied on the comfort

     and knowledge furnished to him by the CITY and its police department, that he can violate

     policies, constitutional rights, and state laws of any type without repercussion, discipline,

     or termination.

               10.     Until recently, when he was suspended for lying on a promotion application

     claiming he was African American1, ORTIZ controlled the City of Miami Police off-duty

     detail assignment program, giving him the ability to assign himself to any detail he prefers.2

     Evident from his history of abuse, ORTIZ uses that prerogative to assign himself to large

     events; music and street festivals, and entertainment and dining complexes, where crowds

     will be gathered. At these gatherings ORTIZ intimidates, threatens, and physically assaults

     people.

               11.     In 2012, ORTIZ and other officers under his supervision at the Ultra Music

     Festival beat and kicked a man while he was on the ground in a fetal position. The attack

     was so severe that an uninvolved citizen, a woman special-education teacher, Vanessa

     Radice, jumped into the melee to save the man because, as she later testified, she was

     “afraid for the guy’s life.” To cover up the assault, ORTIZ ordered the man, Jesse

     Compandonico, to be arrested. However, the charges were later dropped when the Miami-

     Dade State Attorney’s Office issued a memorandum indicating ORTIZ falsified the use of

     force report (Response to Resistance Report). The CITY later settled a federal lawsuit


     1Jerry Iannelli, All the Times Miami Cop Javier Ortiz Insulted Black People, Miami New
     Times, January 26, 2020.
     2 According to a report submitted by Chief of Police Jorge Colina to the City of Miami
     Commission, ORTIZ is currently under civil and criminal investigations by the Miami-
     Dade State Attorney’s Office and the Florida Department of Law Enforcement for
     improprieties related to his control of the off-duty program, as well as for his pattern of
     excessive use of force and false arrests.
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     paying Mr. Compandonico $450,000. ORTIZ was banned from the Ultra Music Festival

     by its promotors. But no disciplinary action against ORTIZ was taken by the CITY.

            12.     In February, 2011, ORTIZ dragged Cyril Mohandes down a stairway by the

     neck at the CocoWalk complex and then arrested him for trespass because Mr. Mohandis

     was video recording ORTIZ abusing another citizen. Mr. Mohandis told Miami Internal

     Affairs (“IA”) that while ORTIZ was dragging him, ORTIZ stated “My Internal Affairs

     record is very long, and it doesn’t matter if you make a complaint.” ORTIZ was right.

     Despite the credibility of Mr. Mohandis’ report (how would he know that ORTIZ had a

     long IA record unless ORTIZ said it), his complaint was declared to be “inconclusive.”

            13.     In May, 2012, ORTIZ shut down an entire road work project, threatening

     the project manager, Randy Stringer, with arrest simply because a DOT work truck was

     blocking his access to the Fraternal Order of Police building where ORTIZ was president.

     Officials from the Florida Department of Transportation filed an IA complaint. The project

     was properly permitted, and despite the clear abuse of authority and violations of police

     policies, IA determined the allegations as “inconclusive.”

            14.     In February, 2011, ORTIZ assaulted a mother, Sunya Stafford, and her two

     sons when he noticed an employee checking one son’s driver’s license at CocoWalk. The

     employee, a bouncer, later told IA investigators that there was no trouble until ORTIZ

     showed up. ORTIZ grabbed Stafford’s son, Calvin, by the shirt, pushing him to the ground

     (the young man was on crutches), and slammed the other son into a car when he tried to

     video record ORTIZ’S assault of his brother. ORTIZ took the cellphone and when it was

     later returned, the recording was erased. IA interviewed the bouncer and independent

     witnesses, Ms. Lizbeth Salgado and Edwin Goodwin -- all of whom supported Ms.


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     Stafford’s account -- and interviewed several officers present who contradicted ORTIZ’S

     statement of the facts. Nonetheless, IA found the allegations “inconclusive.”

              15. In June, 2013, ORTIZ was working the off-duty detail outside the American

         Airlines Arena after the Miami Heat won the NBA Championship. Videos and

         photographs show ORTIZ and other officers attacking Francois Alexander and a young

         woman. Mr. Alexander was beaten so badly he was taken to Miami-Jackson Medical

         Center after he was arrested for inciting a riot. The incident was widely reported in the

         media; however, the CITY took no action against ORTIZ.3

              16. On December 5, 2017, five days before ORTIZ attacked Plaintiff LOPEZ, he

         arrived at the roadside stop of a young couple (no one had requested his presence).

         When ORTIZ became verbally abusive and threatening, Thamara Cazeau, the

         girlfriend of the driver, Polini Sanon, began to video record the interaction. To

         intimidate Ms. Cazeau, ORTIZ took her driver’s license and work I.D. and began

         photographing them, suggesting he could affect her employment. Mr. Sanon and Ms.

         Cazeau filed complaints with Miami’s IA focusing on ORTIZ’S photographing of the

         identification and intimidation of Ms. Cazeau. The couple produced a video which

         clearly shows ORTIZ using his cellphone to photograph items place on the hood of his

         vehicle. When interviewed, ORTIZ stated that he only looked at a piece of paper from

         Ms. Cazeau’s wallet but never photographed anything.

                      “Did you take out your cell phone — or do you have a cell
                      phone that you normally carry with you while you're on
                      patrol?”


     3
      Jerry Iannelli, Miami Police Union Chief Javier Ortiz Sued for Allegedly Beating Man
     During Miami Heat Championship Celebration, Miami New Times, September 2, 2016.


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                   "Yes."

                   "At any point in time, did you take any photographs of any
                   items on-scene?"

                   "No."

                   "Did you take any pictures in reference to identification
                   cards?"

                   "No, but I did take note that she works for the University of
                   Miami medical campus and I run police services at the
                   University of Miami," ORTIZ said.


      ORTIZ’S sworn statement was also contradicted by another officer present. ORTIZ

      said that he was summoned to the scene because Polini was argumentative. The other

      officer disputed that account saying that a supervisor was never summoned and Polini

      was polite the entire time.

           17. The conclusion of the IA investigation report itself misrepresented the

      account of the other officer, falsely stating the officer supported ORTIZ’S account.

      The report determined that the allegations were “Inconclusive” because, “There are no

      independent witnesses and/or video footage to either prove or disprove the allegation."

      See Meg O’Conner, Botched Javier Ortiz Investigation Exemplified Internal Affairs’

      History of Incompetence and Coverups, Miami New Times, Nov. 15, 2018.

           18.     In October, 2014, Attorney Alan Diamond, General Counsel for the

      Florida FOP, filed an IA complaint against ORTIZ claiming that he unlawfully

      accessed the Florida Driver and Vehicle Information Database (a secure law

      enforcement database) in an effort to obtain Mr. Diamond’s personal information to

      use for retaliation related to a FOP matter. In his statement to IA, ORTIZ admitted

      committing the crime, and further stated that he directed a subordinate, Officer Nikilai

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      Trifonov, to access the database for him to conceal his participation. IA determined

      the complaint as “Substantiated.” Use of the D.A.V.I.D. System for unauthorized, non-

      official use is a crime in Florida and violation of Department Policy Rule 14, Section

      2, resulting in Dismissal, Suspensions and/or Demotions. None of these disciplines

      were imposed on ORTIZ.

           19. In April, 2010, Ms. Karissa Soto was at CocoWalk with her husband and

      friends. ORTIZ overheard Ms. Soto telling a server that her “souvenir cup” was

      mistakenly cleared from the table. When Ms. Soto went to retrieve the cup from the

      trash, ORTIZ followed her, yelled “Watch where the hell you are going,” and pushed

      her down an escalator. The Sotos filed an IA complaint and provided statements as to

      what had occurred; however, the IA determination was “inconclusive.”

           20.     In November, 2009, Mr. Carlos Sosa was nearly struck while driving in

      the City by Officer Edward Lugo, a close friend of ORTIZ. Officer Armando Alverez

      was a passenger in the vehicle driven by Lugo. The two officers were fellow FOP

      members transporting people to the voting poles. The van was branded with a political

      sign for Mayor Tomas Regalado. Lugo yelled out at Mr. Sosa, “You don’t know who

      you are fucking with.” Both vehicles stopped and Lugo got out and pushed Sosa.

      Alverez contacted communications and Sergeant ORTIZ showed up. He arrested Mr.

      Sosa alleging that Sosa threw a bottle at an officer (the bottle could not be found

      according to ORTIZ) and charged him with Battery on a Law Enforcement Officer.

      Ms. Idania Garcia, Mr. Sosa’s girlfriend who was present, confirmed in an interview

      that the van almost struck their car whereupon one or both of the officers “gave them

      the finger” and one yelling “motherfuckers.” Upon exiting the van, Alverez told Sosa


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      he was a police officer and pushed Sosa three times. Ms. Garcia called 911 to report

      the incident and later obtained a copy of the recording.

           21.     On July 20, 2010, Mr. Sosa’s case went to trial. While in the courthouse,

      Officer Lugo and Sergeant ORTIZ began harassing Sosa, telling him he was not going

      home and his “ass is going to jail.” The officers began to pretend cry and “moon-walk”

      across the floor, mocking Mr. Sosa. This was witnessed by Mr. Sosa’s attorney, Jaclyn

      Botts. Ms. Garcia was also present for the trial and was in the hallway when the two

      officers began making lewd remarks, telling her she “had a nice body,” and they “could

      take care of her.” The officers’ behavior became so disruptive that Ms. Botts, the

      defense attorney, notified the judge, who reprimanded Lugo and Ortiz, banning them

      from the courtroom.

           22.     At the trial, the defense produced a copy of the 911 tape which, based on

      ORTIZ’S representation to the prosecutor, was misplaced and unavailable.

           23.     After the jury acquitted Mr. Sosa, Ms. Botts was leaving the courthouse

      when she was assaulted by ORTIZ and Lugo who swerved their CITY police car at her

      as she was stepping off the sidewalk, yelling, “You got us this time, we’ll get you next

      time.”

           24.     Mr. Sosa and Ms. Garcia filed a complaint with IA, providing the name

      of her attorney and the case information so a transcript could be obtained. Despite there

      being no bottle retrieved as evidence, despite claiming Ms. Garcia’s 911 recording was

      lost, and despite the acquittal, the IA investigation resulted in a determination of

      “inconclusive” because there were no independent witnesses. The IA investigator

      stated in the report he could not locate Ms. Botts, who later told the Civilian


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       Investigative Panel that she is a registered member of the bar and has had the same

       telephone number as the one furnished to IA for many years.

            25.     In April, 2008, ORTIZ grabbed Ms. Alesha Bruce’s purse and threw her

       down to the ground. Ms. Bruce filed an IA complaint; however, no investigation was

       ever conducted and the matter was closed with no finding.

            26.     In January, 2009, Mr. Jonathan Vilma was driving to Miami International

       Airport to pick up a friend. He was pulled over by ORTIZ who became irate when Mr.

       Vilma questioned why he was being stopped. Mr. Vilma was arrested and charged

       with Resisting an Officer with Violence and Reckless Driving. Mr. Vilma at the time

       was a player in the National Football League and the incident drew nationwide attention

       which was known to CITY officials. Mr. Vilma was quoted in local newspapers and

       television describing ORTIZ’S wild behavior. In turn, based on the speciousness of

       the evidence and ORTIZ’S lack of credibility, the Miami-Dade State Attorney’s Office

       refused to prosecute the case. The CITY, however, made no effort to investigate

       ORTIZ’S conduct.

            27.     In July, 2010, Ms. Cynthia Bettner took her 12-year-old daughter to a

       children’s movie at the CocoWalk theaters in Coconut Grove. Ms. Bettner had

       previously worked as the marketing director for CocoWalk and was doing marketing

       for some of the vendors in the complex. Ms. Bettner lives in the Grove. As she and

       her daughter were leaving the theater, ORTIZ began to follow her for no explicable

       reason. She eventually confronted ORTIZ, telling him he was scaring her and her

       daughter. At that point, ORTIZ advised her she was trespassing. When she protested,

       ORTIZ replied, “Do you have any more shit to say?” and placed her under arrest and


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       placed handcuffs on her very tightly. Following the arrest, ORTIZ physically threw

       Ms. Bettner into a parked vehicle with so much force it caused a dent. While she was

       on the ground, her 12-year old daughter jumped on the back of ORTIZ trying to save

       her mother. She was charged with Trespass, Resisting an Officer Without Violence

       (two counts), and Disorderly Intoxication. Although this all occurred in front of Ms.

       Bettner’s 12-year old daughter, ORTIZ failed to follow Departmental procedure Order

       9 Chapter 2§2.4 requiring that he notify Dept. of Children and Families and the City of

       Miami Child Abuse Unit.

             28.     Ms. Bettner filed an IA complaint but then withdrew it stating that

       Sergeant ORTIZ contacted her and told her, “I know what you are doing.” On

       November 3, 2010, an IA investigator called Ms. Bettner to take her statement. She

       told the investigator that she had been threatened and wanted to withdraw the complaint

       for fear of retaliation from ORTIZ. IA closed the investigation without any further

       effort to investigate the alleged threat.

             29.     In April, 2009, Ms. Rebecca Beltran was eight months pregnant and

       driving her car to her accountant’s office. She was experiencing heartburn related to

       the pregnancy and was driving slowly. The driver behind her became irate and began

       honking. Ms. Beltran signaled for the driver to pass her; instead, he stayed on her tail,

       driving aggressively, trying to frighten her. The driver was Javier ORTIZ, who

       activated the lights of his car and pulled her over. In fear, Ms. Beltran called her father

       asking him to stay on the phone for her protection. ORTIZ used abusive language

       toward Ms. Beltran. He then wrote her several citations that were fabricated. Ms.

       Beltran filed an IA complaint; however, no investigation was conducted at all.


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              30.     In January, 2016, Ms. Claudio Castillo flagged over a police officer who

         was driving on Miller Road at 90 mph. When he came to her window, Ms. Castillo

         told the officer, "The reason I pulled you over today and I'm asking you to come over

         and have a conversation is because I saw you since Miller Drive when you first jumped

         onto the Palmetto and you were pushing 90 miles per hour." The entire incident,

         including the officer’s driving pattern and the roadside encounter, were video recorded

         by Ms. Castillo. She posted the video (available on multiple media websites). At the

         roadside, the officer actually apologized to Ms. Castillo and promised to slow down.

              31.     In retaliation, ORTIZ “Doxxed Ms. Castillo,4 using his social media

         platform as President the FOP, posting Castillo's Facebook photos and phone number

         and urging his social media followers to call her. Castillo received hundreds of

         threatening phone calls and Facebook messages, and Facebook itself removed the posts

         for being abusive. IA investigators agreed with Castillo that ORTIZ had committed

         cyberbullying and violated departmental rules. Investigators substantiated complaints

         of improper procedure and discourtesy against ORTIZ, finding him in violation of rules

         that are "grounds for dismissal, suspension, and demotion." But, IA's final report

         indicates ORTIZ received only a reprimand.5

              32.     In response to a request for comment, ORTIZ wrote, "This woman is a

         danger to my members and law enforcement as a whole ... . She's an officer safety risk



     4
      Publishing private or identifying information about an individual on the Internet with
     malicious intent.
     5
      Jessica Lipscomb, Miami Police Union Chief Javier Ortiz Reprimanded for Doxxing
     Private Citizen, Miami New Times, December 21, 2016.



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       pulling over a vehicle on the side of I-95," he says in a text message. In March of 2017,

       Ms. Castillo sought and was granted a restraining order against ORTIZ by a Miami-

       Dade Judge. In October of that year, he was promoted to Captain.

             33.     In July, 2015, ORTIZ, while off duty, responded to a roadside traffic stop

       of Mr. Ruben Sebastian. ORTIZ eventually pulled him from the car and placed him in

       handcuffs. The handcuffs were forced down so hard, Mr. Sebastian lost all feeling in

       his hands. When he complained, ORTIZ responded by telling him, “If you don’t like

       it, I know how to make them tighter.” ORTIZ then falsely arrested Mr. Sebastian for

       reckless display of a firearm. The charges were dropped when ORTIZ refused to

       cooperate, asking the prosecutor to drop the charges. In September, 2019, the CITY

       paid $65,000 to Mr. Sebastian to resolve federal civil rights claims. State tort claims

       are still pending.

             34.     The incidents and investigations cited above, and dozens of others that

       Plaintiff is prepared to prove, establish the CITY’S knowledge of ORTIZ’S widespread

       pattern of civil rights violations, abusive treatment of citizens, and his commission of

       criminal acts.

             35.     The incidents and investigations cited above, and dozens of others that the

       Plaintiff is prepared to prove, establish the CITY’S knowledge that ORTIZ routinely

       and continuously usurps the authority of the CITY to violate its policies and

       procedures, rights, and laws (including criminal offenses).

             36.     The incidents and investigations cited above, and dozens of others that the

       Plaintiff is prepared to prove, establish that the CITY has adopted a policy, custom, or

       practice of deliberate indifference to ORTIZ’S routine and continuous usurpation of


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       the authority of the CITY to violate its policies and procedures, rights, and laws

       (including criminal offenses).

              37.     On or about December 9, 2017, Plaintiff, MELISSA LOPEZ, was

       attending the Art Basel Art Festival with her boyfriend. LOPEZ was standing on one

       side of the street using her cellular telephone to check the festival’s event schedule

       when she noticed her boyfriend on the other side of the street being taken into custody

       by City of Miami Police. As part of the festivities, the promotors placed spray paint

       cans around the neighborhood intending that the public use them to paint graffiti in

       designated areas (the Miami-Dade State Attorney’s Officer late dropped the charges.)

             38.      Noticing what was happening, LOPEZ began to cross the street and stated,

       “Oh my goodness, what happened?”

             39.      At no time or in any way as she entered the roadway and began to cross

       did LOPEZ do or say anything to indicate she intended to interfere or obstruct the arrest.

       She simply took several steps and asked what happened.

             40.      ORTIZ, without warning or cause, rushed into the street toward LOPEZ

       and viciously pushed her with such force that she fell to the ground causing a fracture

       to her left wrist.

             41.      To cover up the assault, ORTIZ then arrested LOPEZ for obstructing police

     and resisting arrest without violence.

             42.      In a further attempt to cover up the assault, ORTIZ then failed to submit the

     required Response to Resistance Report to be used by all CITY police department officers

     who use force.

             43.      The force used by ORTIZ, even if his intent was to effect an arrest, was


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     gratuitous and unnecessary in the that the offence was slight and at no time did LOPEZ

     offer resistance or attempt to flee.

             44.     Even if the arrest had been lawful, the force ORTIZ used was

     disproportionate to the circumstances and greater than de minimis. LOPEZ never made it

     more than a few steps into the street and did not approach the area where her boyfriend was

     placed in custody. Moreover, her boyfriend was compliant, unresisting, and arrested

     without incident; therefore, there was no heightened concern for any officer’s safety, or

     that of any other person in the area.

             45.     The injuries to LOPEZ are permanent in nature, and she continues to suffer

     pain in her left wrist and continues to suffer emotional pain and suffering caused by the

     unlawful actions of ORTIZ.

             46.     LOPEZ was forced to seek medical care and treatment for her left wrist

     fracture.

             47.     During the course of ORTIZ’S employment with the CITY, the CITY

     became aware, or should have become aware, of information indicating that ORTIZ was

     unable and/or unwilling to follow orders and departmental policies, and unfit to serve as a

     police officer charged with the responsibility of upholding rights and laws.

             48.     During the course of ORTIZ’S employment with the CITY, the CITY

     became aware, or should have become aware, of information indicating that ORTIZ was

     using the authority conferred upon him for his own personal predilections, to satisfy his

     own violent impulses by assaulting citizens.




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            49.     To enable ORTIZ to continue this abuse, the CITY adopted a policy that

     overlooked and ignored all violations of departmental policies, rights and laws by Ortiz

     permitting him to avoid supervision, discipline, or termination.

            50.      Prior to December 9, 2017, ORTIZ had been:

                    a.    the subject of 61 or more citizen complaints filed with the CITY
                          accusing him of unconstitutional use of force, false arrest, abusive
                          treatment, discourtesy, bigoted language, intimidation, reckless
                          driving, and criminal offenses; once having been relieved of duty after
                          a citizen obtained a judicial restraining order; and

                    b.    investigated at least 42 times for unlawful use of force specifically;

                    c.    placed on a “Monitoring List” maintained by the CIP for City of
                          Miami Police officers, which lists officers who demonstrate a pattern
                          of unconstitutional and unlawful misconduct.

            51.     As a direct and proximate result of the acts of CITY and ORTIZ, LOPEZ

     suffered damages, including the following:

                    a.      fracture of her left wrist, causing severe pain and suffering;

                    b.      emotional distress and mental anguish; and

                    c.      financial damage caused by having to seek medical care and

            treatment for her left wrist fracture.

            52.     ORTIZ is subject to punitive damages for his conduct.

            53.     LOPEZ has retained the services of the undersigned counsel and is

     obligated to pay a reasonable fee for their services in the event of recovery.




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                                        FEDERAL CLAIMS

                                      COUNT I
                           FOURTH AMENDMENT - 42 U.S.C. §1983
                               EXCESSIVE USE OF FORCE
                               DEFENDANT, JAVIER ORTIZ

               54.   LOPEZ realleges and re-avers each and every allegation contained in

     paragraphs 1 through 4, 6 through 33, and 37 through 53 (and subparts) as if fully set forth

     herein.

               55.   LOPEZ was physically assaulted and battered by ORTIZ, who while acting

     under color of law violently pushed LOPEZ to the ground in a manner specifically

     intending to cause her significant pain and discomfort.

               56.   ORTIZ attacked LOPEZ for no legitimate law enforcement purpose,

     usurping the authority of the CITY for his own malign purposes, and consistent with his

     long history of similar usurpation of that authority.

               57.   By doing so, ORTIZ caused LOPEZ to sustain a left wrist fracture, leaving

     her with a severe injury.

               58.   At no time during the events giving rise to this action did LOPEZ commit

     any act, motion or gesture, or make any statement, to oppose any member of the Miami

     Police Department, or any police officer, or any other person, that might reasonably have

     been interpreted or perceived as a threat to their safety, health or wellbeing.

               59.   The extent of force used by ORTIZ was far more than de minimus, it was

     excessive and objectively unreasonable, and/or done with the malicious intent to injure

     LOPEZ.

               60.   As a direct and proximate result of the force used by ORTIZ in viciously

     shoving LOPEZ to the ground, LOPEZ suffered extreme pain and suffering, as well as

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     temporary and/or permanent physical injury, emotional distress, mental anguish, and

     financial loss. These injuries are continuing and permanent in nature.

            WHEREFORE, the Plaintiff, MELISSA LOPEZ, seeks entry of this Court’s order

     of final judgment against the Defendant, JAVIER ORTIZ, for all compensatory and

     punitive damages incurred, attorney’s fees, costs, and such other relief that the Court deems

     just and proper.


                                             COUNT II
                                 42 U.S.C. §1983 MONELL CLAIM
                                 DEFENDANT, CITY OF MIAMI

            61.     LOPEZ realleges and reavers each and every allegation contained in

     paragraphs 1 through 5, and 7 through 53 above, as if fully set forth herein.

            62.     CITY confers upon its police officers authority to, among other things, issue

     lawful commands, effectuate arrests, and exercise control of the persons arrested. As such,

     CITY had a legal duty to:

                    a.   thoroughly and impartially investigate allegations of misconduct
                         against Ortiz;

                    b.   appropriately discipline, supervise, retrain, or terminate officers like
                         ORTIZ, who are unable or unwilling to respect the constitutional rights
                         of individuals and who violate rights, laws and department policy;

                    c.   prevent police officers, like ORTIZ, who are unable or unwilling to
                         respect the constitutional rights of individuals, laws and rules and
                         regulations, from usurping police authority; and

                    d.   prevent constitutional deprivations that constitute widespread abuse.

            63.     By December of 2017, CITY knew, or should have known, that supervision,

     re-training, discipline, or even termination of ORTIZ was necessary to protect the citizenry

     from his continuous pattern of rights and law violations.


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               64.   Nonetheless, CITY failed to act and instead, adopted a policy, custom, or

     practice of deliberate indifference, ignoring ORTIZ’S misconduct and conducting

     investigations of allegations against Ortiz in a biased and predetermined manner intended

     to protect ORTIZ from discipline or termination.

               65.   This adopted policy, custom, or practice provided Ortiz with comfort and

     assurance that he could violate rights and laws without fear of discipline or negative

     consequences to his employment.

               66.   It was this adopted policy, custom, or practice that resulted in ORTIZ

     assaulting LOPEZ, causing her injury.

               67.   CITY’S deliberate indifference to the years’ long record of malign conduct

     by ORTIZ was the moving force which caused LOPEZ to be injured on December 9, 2017.

               68.   As a direct and proximate result of the CITY’S acts and omissions as set

     forth herein, ORTIZ engaged in a widespread pattern of abuse causing the deprivation of

     LOPEZ’S civil rights, and as a result she suffered pain and suffering, physical and

     emotional injury, and financial injury. These injuries are continuing and permanent in

     nature.

               WHEREFORE, the Plaintiff, MELISSA LOPEZ, demands judgment against the

     Defendant, CITY OF MIAMI, for compensatory damages, costs, reasonable attorneys’ fees

     pursuant to 42 U.S.C. §1988, and for such other and further relief as the Court deems just

     and appropriate.




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                                          STATE CLAIMS

                                       COUNT III
                     INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                                   STATE TORT CLAIM
                               DEFENDANT, JAVIER ORTIZ

               69.     LOPEZ realleges and reavers each and every allegation contained in

     paragraphs 1 through 4, 6 through 33, and 37 through 53 (and subparts), as if fully set forth

     herein.

               70.     The actions of ORTIZ in violently pushing LOPEZ to the ground were

     intended to cause physical and emotional pain and anguish.

               71.     For his own personal gratification, ORTIZ corruptly and unlawfully

     usurped the authority granted to him by the CITY to assault LOPEZ. As such, his actions

     were beyond all bounds of decency, atrocious, and are utterly intolerable in a civilized

     society, and would cause a reasonable person to cry, “Outrageous!”

               72.     ORTIZ’S assault of LOPEZ was not only tortious, it was egregious under

     the circumstances, and malicious and criminal.

               73.     As a direct and proximate result of ORTIZ’S assault, LOPEZ suffered a

     fractured wrist, as well as emotional injury. These injuries cause continuing pain and

     suffering and are likely to continue into the future.

               WHEREFORE, the Plaintiff, MELISSA LOPEZ, seeks entry of this Court’s order

     of final judgment against the Defendant, JAVIER ORTIZ, for compensatory damages,

     punitive damages, costs, and for such other relief that the Court deems just and appropriate.




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                                          COUNT IV
                                   ASSAULT AND/OR BATTERY
                                      STATE TORT CLAIM
                                   DEFENDANT, JAVIER ORTIZ

               74.     LOPEZ realleges and re-avers each and every allegation contained in

     paragraphs 1 through 4, 6 through 33, and 37 through 53 (and subparts), as if fully set forth

     herein.

               75.     On or about December 9, 2017, ORTIZ charged at LOPEZ and did touch or

     strike her in an offensive manner against her will, which was specifically intended to cause

     significant pain and discomfort.

               76.     Notwithstanding any claim to the legality of LOPEZ’S arrest itself, this

     touching or striking was not within the scope of his lawful duties, as the manner in which

     ORTIZ pushed LOPEZ was intended as punishment and not for restraint purposes.

               77.     In doing so, ORTIZ caused LOPEZ to violently strike the ground fracturing

     her left wrist.

               78.     As a direct and proximate result of the force used by ORTIZ, LOPEZ

     suffered extreme pain and suffering, as well as temporary and/or permanent physical

     injury, and financial loss. The conduct of ORTIZ was willful and wanton and done with

     reckless disregard for LOPEZ’S rights. These injuries are continuing and permanent in

     nature.

               WHEREFORE, the Plaintiff MELISSA LOPEZ seeks entry of this Court’s order

     of final judgment against the Defendant, JAVIER ORTIZ, for all compensatory damages

     incurred, punitive damages, attorney’s fees, costs, and for such other relief that the Court

     deems just and appropriate.




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                                     COUNT V
                        RESPONDEAT SUPERIOR LIABILITY CLAIM
                             DEFENDANT, CITY OF MIAMI

            79.     LOPEZ realleges and reavers each and every allegation contained in

     paragraphs 1 through 5, and 7 through 53 above, as if fully set forth herein.

            80.     Subject to certain statutory limitations, the CITY is liable for the negligent

     and/or wrongful acts or omissions of its employees while acting within the scope of their

     office or employment to the same extent as a private employer.

            81.     One statutory limitation on imposing respondeat superior liability on the

     CITY is that it “shall not be liable in tort for the acts or omissions of an officer, employee,

     or agent committed while acting outside the scope of her or his employment or committed

     in bad faith or with malicious purpose or in a manner exhibiting willful and wanton

     disregard of human rights, safety, or property.”

            82.     As permitted by Rule 8(d), Fed.R.Civ.P., in the alternative to the contrary

     allegations set forth in this Complaint, LOPEZ alleges that ORTIZ was acting within the

     scope of his employment, not usurping the authority conferred upon him, and did not

     commit the above-mentioned torts of assault, battery, infliction of emotional distress, or

     negligence in bad faith or with malicious purpose, or in a manner exhibiting willful and

     wanton disregard of human rights, safety, or property. Accordingly, respondeat superior

     liability ought to be imposed on the CITY for ORTIZ’S acts of battery, and negligence to

     the extent provided by law.

            83.     As a direct and proximate cause of ORTIZ’S negligent conduct, LOPEZ has

     suffered pain and suffering, physical and emotional injury, and financial loss. These

     injuries are continuing and permanent in nature.


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            WHEREFORE, the Plaintiff, MELISSA LOPEZ, seeks judgment against the

     Defendant, CITY OF MIAMI, for compensatory damages, costs, and for such other and

     further relief the Court deems just and appropriate.


                                      COUNT VI
                             NEGLIGENT SUPERVISION CLAIM
                               DEFENDANT, CITY OF MIAMI


            84.     LOPEZ realleges and reavers each and every allegation contained in

     paragraphs 1 through 5, and 7 through 53 above, as if fully set forth herein.


            85.     At all times material hereto, the CITY knew or should have known that

     ORTIZ was engaged in a pattern of conduct outside the scope of his employment, intended

     to satisfy his own violent impulses.

            86.     Having granted ORTIZ the apparent authority to exercise the power of

     arrest, the CITY had a duty to reasonably ensure that he did not usurp that authority for his

     own personal desires and impulses.

            87.     The CITY breached that duty, adopting a policy, custom, or practice

     intended to protect ORTIZ from meaningful supervision that would have curtailed and

     controlled his penchant for committing acts of violence against the citizenry.

            88.     This policy, custom, or practice was intended to tolerate all of ORTIZ’S

     violations of written policies, rights and laws – of any nature – by overlooking incidents

     which called for greater supervision or immediate remedial measures.

            89.     The CITY either completely ignored such violations by ORTIZ or

     conducted sham investigations to protect ORTIZ.




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            90.     On December 9, 2017, this policy, practice, or custom of toleration and

     accommodation resulted in ORTIZ wrongfully injury.

            91.     Based on the obvious need for supervision demonstrated by a widespread

     and longstanding pattern of ORTIZ using unnecessary and gratuitous force – assaulting

     people to satisfy his own violent impulses – the CITY knew or should have known that

     further such incidents, including the assault of LOPEZ, were foreseeable.

            92.     As a direct and proximate result of the CITY’S failure to adequately

     supervise ORTIZ, despite the foreseeable consequences of rights violations, LOPEZ has

     suffered pain and suffering, physical and emotional injury, and financial loss. These

     injuries are continuing and permanent in nature.

            WHEREFORE, the Plaintiff, MELISSA LOPEZ, seeks order of the Court for final

     judgment awarding her compensatory damages, costs, and for such other and further relief

     as the Court may deem just and appropriate.


                                     COUNT VIII
                            NEGLIGENT RETENTION CLAIM
                          VERSUS DEFENDANTS, CITY OF MIAMI

            93.     LOPEZ realleges and reavers each and every allegation contained in

     paragraphs 1 through 5, and 7 through 53 above, as if fully set forth herein.


            94.     At all times material hereto, CITY knew or should have known that ORTIZ

     was engaged in a pattern of conduct outside the scope of his employment, intended to

     satisfy his own violent impulses.

            95.     Having granted ORTIZ the apparent authority to exercise the power of

     arrest, the CITY had a duty to reasonably ensure that he did not usurp that authority for his

     own personal desires and impulses.
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               96.    The CITY breached that duty, adopting a policy, custom, or practice

     intended to protect ORTIZ from termination of his employment that would have curtailed

     and controlled his penchant for committing acts of violence against the citizenry.

               97.    This policy, custom, or practice was intended to tolerate all of ORTIZ’S

     violations of written policies, rights and laws – of any nature – by overlooking incidents

     which called for termination of his employment.

               98.    The CITY either completely ignored such violations by ORTIZ or

     conducted sham investigations to protect ORTIZ. However, the CITY knew, or should

     have known, that ORTIZ was incapable of controlling his violent impulses or abiding

     written policies, rights, and laws.

               99.    On December 9, 2017, this policy, practice, or custom of toleration and

     accommodation resulted in ORTIZ wrongfully injuring LOPEZ, causing serious bodily

     injury.

               100.   Based on the obvious need for termination demonstrated by a widespread

     and longstanding pattern of ORTIZ using unnecessary and gratuitous force (assaulting

     people to satisfy his own violent impulses), the CITY knew or should have known that

     further such incidents, including the assault of LOPEZ, were foreseeable.

               101.   As a direct and proximate result of the CITY’S failure to terminate ORTIZ,

     and despite the foreseeable consequences if he was retained, LOPEZ has suffered pain and

     suffering, physical and emotional injury, and financial loss. These injuries are continuing

     and permanent in nature.




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            WHEREFORE, the Plaintiff, MELISSA LOPEZ, seeks order of the Court for final

     judgment awarding her compensatory damages, costs, and for such other and further relief

     as the Court may deem just and appropriate.


                                DEMAND FOR JURY TRIAL

            The Plaintiff, MELISSA LOPEZ, demands trial by jury of all issues so triable as of

     right by jury.

            DATED this 30th day of March, 2020.



                                           s/ David A. Frankel
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